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4                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
5                                    AT TACOMA
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7     DOUGLAS FERRIE,
8                                                   CASE NO.
                                   Plaintiff (s),   3:19−cv−05798−RBL
9                         v.
                                                    MINUTE ORDER REGARDING
10                                                  DISCOVERY AND DEPOSITIONS
      WOODFORD RESEARCH LLC et al.,
11
12                               Defendant (s).

13
14         IT IS ORDERED that:
15         1. DISCOVERY. All discovery matters should be resolved by agreement if
16   possible. If a ruling is needed on any discovery question, and counsel wish to avoid the
17   time and expense of a written motion, they may place a joint call to chambers at
18   (253) 882−3840, requesting a conference call with the staff attorney assigned to the
19   case to determine whether it is appropriate to obtain an expedited ruling through a
20   telephone conference call. The conduct of the parties in pre−trial matters should be
21   guided by the provisions of the Code of Pre−Trial Conduct published by the American
22   College of Trial Lawyers which can be found at www.actl.com (Publications).
23         2. DEPOSITIONS. Depositions will be conducted in compliance with the
24   following rules:
25               (a) Examination. If there are multiple parties, each side should ordinarily
26         designate one attorney to conduct the main examination of the deponent, and any

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1          questioning by other counsel on that side should be limited to matters not
2          previously covered.
3               (b) Objections. The only objections that should be raised at the deposition
4          are those involving a privilege against disclosure, or some matter that may be
5          remedied if presented at the time (such as the form of the question or the
6          responsiveness of the answer), or that the question seeks information beyond
7          the scope of discovery. Objections on other grounds are unnecessary and should
8          be avoided. All objections should be concise and must not suggest answers to,
9          or otherwise coach, the deponent. Argumentative interruptions will not be
10         permitted.
11              (c) Directions Not to Answer. Directions to the deponent not to answer
12         are improper. Advice not to answer may be appropriate on the ground of privilege
13         or to enable a party or deponent to present a motion to the court or special master
14         for termination of the deposition on the ground that it is being conducted in bad
15         faith or in such a manner as unreasonably to annoy, embarrass or oppress the party
16         or the deponent, or for appropriate limitations upon the scope of the deposition
17         (e.g., on the ground that the line or inquiry is not relevant nor reasonably calculated
18         to lead to the discovery of admissible evidence). When a privilege is claimed,
19         the witness should nevertheless answer questions relevant to the existence, extent
20         or waiver of the privilege, such as the date of the communication, who made the
21         statement in question, to whom and in whose presence the statement was made,
22         other persons to whom the contents of the statement have been disclosed, and the
23         general subject matter of the statement.
24              (d) Responsiveness. Witnesses will be expected to answer all questions
25         directly and without evasion, to the extent of their testimonial knowledge, unless
26         they choose to follow the advice of counsel not to answer.

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1                (e) Private Consultation. Private conferences between deponents and
2          their attorneys during the actual taking of the deposition are improper, except
3          for the purpose of determining whether a privilege should be asserted. Unless
4          prohibited by the court for good cause shown, such conferences may, however, be
5          held during normal recesses and adjournments.
6                (f) Conduct of Examining Counsel. Examining counsel will refrain from
7          asking questions he or she knows to be beyond the legitimate scope of discovery,
8          and from undue repetition.
9                (g) Courtroom Standard. All counsel and parties should conduct
10         themselves in depositions with the same courtesy and respect for the rules that are
11         required in the courtroom during trial.
12         3. RESPONSIBILITY OF PLAINTIFF'S COUNSEL. This order is issued at
13   the outset of the case, and a copy is delivered by the clerk to counsel for plaintiff.
14   Plaintiff's counsel (or plaintiff, if pro se) is directed to deliver a copy of this order to
15   each other party within ten (10) days after receiving notice of that party's appearance.
16
17         DATED: August 30, 2019
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19         The foregoing Minute Order entered by Debbie Nelson, Judicial Assistant,
20   BY THE DIRECTION OF THE HONORABLE RONALD B. LEIGHTON,
21   UNITED STATES DISTRICT JUDGE.
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